JS 44 (Rev. 04/21) 7;1'                                            CIVIL COVER SHEET
                         Case 4:24-cv-00558-O Document 1-1 Filed 06/17/24                                                            Page 1 of 1 PageID 12
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
       SECURITIES AN EXCHANGE COMMISSION
                                                                                                           Matthew Brown and Matthew Brown Companies, LLC
   (b) County of Residence of First Listed Plaintiff                                                      County of Residence of First Listed Defendant              Dallas
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)

      Patrick B. Disbennett, SEC, 801 Cherry St., Ste. 1900,
      FTW, TX 76102, 817-266-9633
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                    and One Box for Defendant)
✖ 1    U.S. Government                 3   Federal Question                                                                     PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

  2    U.S. Government                 4   Diversity                                             Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158       375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal              376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability         690 Other                                28 USC 157                  3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                     INTELLECTUAL              400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS             410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                                820 Copyrights              430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                              830 Patent                  450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated    460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                     New Drug Application    470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                      840 Trademark                   Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets    480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                 Act of 2016                 (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending              Act                                                          485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal            720 Labor/Management                  SOCIAL SECURITY                Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)            490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)      ✖ 850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))          Exchange
                                          Medical Malpractice                                           Leave Act                        864 SSID Title XVI          890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))            891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                          893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS           895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff       Act
  240 Torts to Land                   443 Housing/                        Sentence                                                            or Defendant)          896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                        871 IRS—Third Party         899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                Act/Review or Appeal of
                                          Employment                  Other:                        462 Naturalization Application                                       Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                            950 Constitutionality of
                                          Other                       550 Civil Rights                  Actions                                                          State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original           2 Removed from                    3      Remanded from             4 Reinstated or               5 Transferred from     6 Multidistrict                      8 Multidistrict
       Proceeding           State Court                            Appellate Court             Reopened                      Another District         Litigation -                       Litigation -
                                                                                                                             (specify)                Transfer                           Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        Section 10(b) of the Securities Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. §§ 240.10b-5(a)-(c)].
VI. CAUSE OF ACTION Brief description of cause:
                                        Securities violations
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                            JURY DEMAND:                 ✖ Yes            No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                                DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
06/17/2024                                                             s/Patrick B. Disbennett
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                     JUDGE                           MAG. JUDGE
